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July 10, 2022


VIA ECF

Hon. Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


SEC v. Ripple Labs Inc., et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.)


Dear Judge Torres:

           The parties are scheduled to file their Daubert motions on Tuesday, July 12, 2022.
Defendants write to seek an expedited briefing schedule on the extreme position taken by the U.S.
Securities and Exchange Commission (“SEC”) that the names of its experts and any substantive
criticism of their reports should be kept from public view.

           As the Court is aware, there is a pending SEC request to seal information identifying one
of the SEC’s experts (“Expert 1”) and the substance of his testimony. See D.E. 498, 508 at 2-3, 512
at n.1. The SEC has informed Defendants that they will seek to extend that relief to three additional
experts (“Experts 2-4”). For those three experts, the SEC has insisted not only that their names and
identifying information be withheld, but also that any mention of the substance of their reports or
deposition testimony should also be sealed until the motion concerning Expert 1 is resolved. Since
the whole point of a Daubert motion is to call into question the reliability and admissibility of an
expert’s report and testimony, this effectively means that the entire Daubert motions for Experts 1-4
would have to be filed and kept under seal.

           The report of Expert 5, including his name and affiliation, has already been filed on the
public record by the SEC. The SEC nonetheless insists that Defendants redact even Expert 5’s
name and any identifying information from its Daubert motion and the exhibits thereto, including
his report (which is already public).

           The existing factual record in the pending SEC request (as to Expert 1) does not support
the extraordinary relief the SEC seeks even as to Expert 1, let alone as to its other experts. The
SEC’s attempt to shield the identities and opinions of its experts from any public scrutiny is both
unprecedented and unsupported by any evidence of need. It is antithetical to the right of the public
to have access to substantive materials that will be critical to this Court’s upcoming rulings on the
parties’ Daubert motions. The “substantial” presumption of public access is strongest where, as
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here, materials filed with the Court go to the merits. Brown v. Maxwell, 929 F.3d 41, 53 (2d Cir.
2019).

           The SEC’s attempt to suppress public criticisms of its experts’ opinions is particularly
egregious given that none of the SEC’s expert reports is likely to contain SEC confidential
information. The only confidential information in the expert reports is internal information about
Ripple itself and third parties. The SEC is abusing the Protective Order (D.E. 53) in an effort to
prevent criticism of its experts from reaching the public. To give one example, one of the SEC’s
expert reports is based on a review of public open-source code with no conceivable confidentiality.
Yet, the SEC maintains that it would be a violation of the Protective Order for Defendants to
publicly file on July 12 any references to that expert’s report or testimony, or to his name or
identity.

          For the past five days, Defendants endeavored in earnest to find some temporary
compromise with the SEC that would allow at least some of the Daubert motions to be filed
publicly on July 12. Those efforts were unsuccessful.1

            Given the SEC’s confidentiality designations, Defendants have no choice but to file four
of their five Daubert motions and exhibits under seal pending a court ruling on the SEC’s position.
The Daubert motion as to Expert 5 will be filed (at the SEC’s insistence) provisionally sealing that
expert’s name and other identifying information. Defendants accordingly request that the Court
establish the following expedited schedule to resolve these issues:

          July 12        Daubert motions and exhibits (with the limited sealing as to Expert 5) are
                         filed under seal.

          July 18        Parties identify to each other any Daubert material that they contend
                         should be redacted and filed under seal.

          July 20        Parties meet and confer on proposed redactions.

          July 22        Parties seeking redactions that have not been agreed to file motion(s) to
                         seal with the Court.

          July 25        Parties file oppositions to redactions that have not been agreed to.




  1
    Because the reports of Experts 2-4 are unlikely to contain any information that the SEC has a
  basis to deem confidential, Defendants asked the SEC to identify any such information for
  redaction, which would allow Defendants to file those Daubert motions publicly. The talks
  derailed on Saturday, July 9, when the SEC for the first time insisted that Defendants identify all
  confidential information in the reports and deposition transcripts of ten of their expert witnesses.
  Since that covers thousands of pages full of detailed information about Ripple’s business and the
  Individual Defendants, it was impractical for Defendants to attempt to do so prior to July 12, as
  the SEC fully understood.
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                                          Respectfully submitted,


 /s/ Andrew J. Ceresney_____________________
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cc:    All Counsel of Record (via ECF)
